Case 1:15-cr-00142-EAW-MJR Document 1350

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

 

 

UNITED STATES OF AMERICA,
Vv. 15-CR-142-W
JACK WOOD a/k/a Snake,

Defendant.

 

PLEA AGREEMENT

The defendant, JACK WOOD a/k/a Snake, and the United States Attorney for the
Western District of New York (hereinafter "the government") hereby enter into a plea

agreement with the terms and conditions as set out below.

I. THE PLEA AND POSSIBLE SENTENCE
1. The defendant agrees to plead guilty to Count 1 of the Second Superseding
Indictment, which charges a violation of Title 18, United States Code, Section 1962(d) (RICO
Conspiracy), for which the maximum possible sentence is a term of imprisonment of 20 years,
a fine of $250,000, a mandatory $100 special assessment, and a term of supervised release of
three (3) years. The defendant understands that the penalties set forth in this paragraph are

the maximum penalties that can be imposed by the Court at sentencing.

2. The defendant understands that, if it is determined that the defendant has
violated any of the terms or conditions of supervised release, the defendant may be required

to serve in prison all or part of the term of supervised release, up to two (2) years, without
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credit for time previously served on supervised release. As a consequence, in the event the
defendant is sentenced to the maximum term of incarceration, a prison term imposed for a
violation of supervised release may result in the defendant serving a sentence of imprisonment

longer than the statutory maximum set forth in § 1 of this agreement.

i. ELEMENTS AND FACTUAL BASIS

3. The defendant understands the nature of the offenses set forth in {1 of this
agreement and understands that if this case proceeded to trial, the government would be
required to prove beyond a reasonable doubt the following elements of the crime:

a. that there was an enterprise, as described in the Second Superseding
Indictment, consisting of a group of persons associated together for a common purpose of
engaging in a course of conduct;

b. that the enterprise engaged in, or its activities in some way affected, interstate
or foreign commerce;

C. that the defendant was employed by or associated with the enterprise; and

d. that the defendant knowingly and intentionally entered into an agreement that
a conspirator would conduct, or participate in the conduct of, the affairs of the enterprise

through a pattern of racketeering activity.

FACTUAL BASIS
4. The defendant and the government agree to the following facts, which form the
basis for the entry of the plea of guilty including relevant conduct:

a. The Kingsmen Motorcycle Club (““KMC”) was founded in Lockport,
New York in 1959 and continues to operate today. As set forth in the
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Second Superseding Indictment, the KMC is a criminal organization
whose leadership, members, and associates constituted an enterprise, as
defined by Title 18, United States Code, Section 1961(4), that is, a group
of individuals associated in fact, the activities of which affected
interstate and foreign commerce.

The purposes of the KMC included the following: promoting and
enhancing the enterprise and its members and associates’ activities,
including, but not limited to, distribution of controlled substances,
maintaining premises for use and distribution of controlled substances,
possession, use and sale of firearms, sale of untaxed cigarettes, and other
criminal activities including but not limited to promoting prostitution;
preserving and protecting the power, territory, and reputation of the
enterprise and its’ members through intimidation, violence, threats of
violence, assaults, murder, and attempted murder; placing victims,
potential victims, potential witnesses, and others in fear of the
enterprise, its members, and associates, through violence and threats of
violence; and generating and maximizing the profits, reputation, and
membership of the enterprise from a variety of illegal activity, including
but not limited to, drug trafficking, firearm sales, sale of untaxed
cigarettes, sale of alcohol, gambling, robbery, and prostitution.

The KMC operates in New York, Pennsylvania, Tennessee, and
Florida. Each KMC member and chapter paid dues to the KMC
National, which was located in the State of Florida. KMC Chapters
routinely sold alcohol and untaxed cigarettes for profits, which they
attempted to mask by calling them “donations.” The KMC also
permitted gambling inside KMC Chapter clubhouses, and promoted
unlawful “stripper parties” and sexual activities inside KMC Chapter
clubhouses.

The defendant, JACK WOOD, was a KMC member and was the
Sergeant at Arms of the Arcade KMC Chapter. The defendant admits
that, at various times during the RICO Conspiracy alleged in Count 1,
KMC members and associates of the KMC used marijuana, cocaine,
methamphetamine, and other controlled substances in and around the
Delevan/Arcade KMC Chapter clubhouse. The defendant
acknowledges that sometimes, the KMC and its members and associates
made efforts to ensure that KMC members, or civilians visiting the
Nerth-Fonawanda Chapter, did not do drugs in open and. notorious

“ manner inside the clubhouse out of fear that such activity would cause

law enforcement to investigate the KMC. However, the defendant
acknowledges that, even with brief periods of diminished drug use, drug
use and distribution continued to occur inside and around KMC
clubhouses, including the Delevan/Arcade KMC Chapter clubhouse.
The defendant further acknowledges that he knew that KMC members
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were involved in the use and distribution of cocaine, marijuana, and
other controlled substances. The defendant further admits that he
possessed firearms that were available to other KMC members, and that
KMC members maintained access to firearms, and KMC members
possessed and maintained firearms on their person and inside KMC
Chapter Clubhouses, including the Delevan/Arcade KMC Chapter
clubhouse. KMC members were also involved in firearm sales at
various times. The defendant admits that the activities of the KMC,
including sale of alcohol, cocaine and other controlled substances,
firearms sale and possession, payment of dues, and the interstate
activities and coordination by the KMC affect interstate commerce. The
parties agree that after converting the amount of cocaine, marijuana,
and other controlled substances involved in the offense, at least 60
kilograms but less than 80 kilograms of marijuana is the amount
involved in the defendant’s relevant conduct encompassed in Count 1
of the Second Superseding Indictment which could be readily proven by
the government against the defendant.

e. The defendant further admits that the KMC follows a strict chain of
command. David Pirk was the National KMC President from in or
about 2012 at least until the return date of the Second Superseding
Indictment. The KMC chain of command was such that the National
President passed down orders to the Regional Presidents; Regional
Presidents passed down orders to the Chapter Presidents; and Chapter
Presidents passed down orders to Chapter Officers and members. KMC
Nomads served at the discretion of the National President and/or
Regional Presidents who passed down orders from the National
President.

f. The defendant admits that, on or about August 3, 2013, KMC Nomads,
including but not limited to Edgar DeKay II a/k/a Special Ed, Gregory
Willson a/k/a Flip, Thomas Koszuta a/k/a Kazoo, Sean McIndoo
a/k/a Professor, used defendant Jack Wood’s van without his
knowledge to drive from the defendant’s house in Delevan, New York,
where he was hosting a large KMC party on his property, to conduct a
drive-by shooting, in Springville, New York. During the incident, shots
were fired at former KMC Springville members who were at odds with
the current members of the KMC. There were no injuries as a result of
the shots fired. After the drive-by shooting, the KMC Nomads returned
to the defendant’s house and told the defendant that he should not use
his van for a while. The defendant quickly learned that his fellow KMC
members used his van during the drive-by shooting, and did not use the
van in the immediate aftermath of the drive-by shooting, as instructed,
and he also did not report to the authorities that his van was used in the
shooting. In 2015, when FBI agents approached the defendant and
interviewed him, several times, regarding the drive-by shooting, the
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defendant made evasive and misleading statements in an effort to hinder
and prevent the offenders’ apprehension, trial, and punishment. When
the defendant was subpoenaed to testify before a federal Grand Jury on
June 24, 2015, the defendant. again made evasive, incomplete, and
misleading statements regarding the scope of his knowledge that his van
was used in a drive-by shooting, who used his van to participate in the
drive-by shooting, and who told him not to drive his van for a while
following the shooting, in an effort to hinder and prevent the offenders’
apprehension, trial, and punishment. The defendant admits to this
conduct.

g. The above facts are set forth for the limited purpose of complying with

Rule 11(b)(3) and are not intended to serve as a complete statement of
the defendant’s criminal conduct.

I. SENTENCING GUIDELINES
5. The defendant understands that the Court must consider but is not bound by

the Sentencing Guidelines (Sentencing Reform Act of 1984).

BASE OFFENSE LEVEL
6. The government and the defendant agree that Guidelines §§ 2E1.1(a)(2),
2D1.8(a)(1), 2D1.1(a)(5), 2D1.1(b)(1), 2D1.1(b)(12) and 2D1.1(c)(10) apply to §4(d), above,

and provide for a base offense level of 24.

7. The government and the defendant agree that Guidelines §§ 2X3.1(a)(1),
2E1.1(a)(2), 2A2.2(a), 2A2.2(b)(1), and 2A2.2(b)(2)(A) apply to J4(f), above, and provide for

a base offense level of 15.
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ADJUSTED OFFENSE LEVEL

8. Based on 4] 6 through 7 of this agreement and Guidelines § 3D1.4, it is the
understanding of the government and the defendant that the defendant’s combined adjusted

offense level is 24.

ACCEPTANCE OF RESPONSIBILITY
9, At sentencing, the government agrees not to oppose the recommendation that
the Court apply the two (2) level downward adjustment of Guidelines § 3E1.1(a) (acceptance
of responsibility), and further agrees to move the Court to apply the additional one (1) level
downward adjustment of Guidelines § 3E1.1(b), which would result in a total offense level of

21.

CRIMINAL HISTORY CATEGORY
10. It is the understanding of the government and the defendant that the
defendant's criminal history category is I. The defendant understands that if the defendant is
sentenced for, or convicted of, any other charges prior to sentencing in this action the
defendant's criminal history category may increase. The defendant understands that the
defendant has no right to withdraw the plea of guilty based on the Court’s determination of

the defendant’s criminal history category.

GUIDELINES' APPLICATION, CALCULATIONS AND IMPACT
11. It is the understanding of the government and the defendant that, with a total

offense level of 21 and criminal history category of I, the defendant's sentencing range would
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be a term of imprisonment of 37 to 46 months, a fine of $15,000 to $150,000, and a period of
supervised release of 1 to 3 years. Notwithstanding this, the defendant understands that at

sentencing the defendant is subject to the maximum penalties set forth in { 1 of this agreement.

12. The government and the defendant agree to the correctness of the calculation
of the Sentencing Guidelines range set forth above. The government and the defendant,
however, reserve the right to recommend a sentence outside the Sentencing Guidelines range.
This paragraph reserves the right to the government and the defendant to bring to the attention
of the Court all information deemed relevant to a determination of the proper sentence in this

action.

13. The defendant understands that the Court is not bound to accept any
Sentencing Guidelines calculations and the defendant will not be entitled to withdraw the

plea of guilty based on the sentence imposed by the Court.

IV. STATUTE OF LIMITATIONS
14. Inthe event the defendant’s plea of guilty is withdrawn, or convictions vacated,
either pre- or post-sentence, by way of appeal, motion, post-conviction proceeding, collateral
attack or otherwise, the defendant agrees that any charges dismissed pursuant to this
agreement shall be automatically reinstated upon motion of the government and further
agrees not to assert the statute of limitations as a defense to any other federal criminal offense,

which is not time barred as of the date of this agreement. This waiver shall be effective for a
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period of six months following the date upon which the withdrawal of the guilty plea or

vacating of the conviction becomes final.

V. GOVERNMENT RIGHTS AND RESERVATIONS
15. At sentencing, the government agrees to take no position as to the specific

sentence within the Guidelines range determined by the Court.

16. The defendant understands that the government has reserved the right to:

a. provide to the Probation Office and the Court all the information and
evidence in its possession that the government deems relevant
concerning the defendant's background, character and involvement in
the offense charged, the circumstances surrounding the charge and the
defendant's criminal history;

b. respond at sentencing to any statements made by the defendant or on
the defendant's behalf that are inconsistent with the information and
evidence available to the government;

Cc. advocate for a specific sentence consistent with the terms of this
agreement including the amount of a fine and the method of payment;
and.

C. modify its position with respect to any sentencing recommendation or

sentencing factor under the Guidelines including criminal history
category, in the event that subsequent to this agreement the government
receives previously unknown information, including conduct and
statements by the defendant subsequent to this agreement, regarding the
recommendation or factor.

17. At sentencing, the government will move to dismiss the open counts of the

Second Superseding Indictment as against the defendant.
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18. The defendant agrees that any financial records and information provided by
the defendant to the Probation Office, before or after sentencing, may be disclosed to the

United States Attorney’s Office for use in the collection of any unpaid financial obligation.

VI. APPEAL RIGHTS

19, The defendant understands that Title 18, United States Code, Section 3742
affords a defendant a limited right to appeal the sentence imposed. The defendant, however,
knowingly waives the right to appeal and collaterally attack any component of a sentence
imposed by the Court which falls within or is less than the sentencing range for imprisonment,
a fine and supervised release set forth in Section III, { 11, above, notwithstanding the manner
in which the Court determines the sentence. In the event of an appeal of the defendant's
sentence by the government, the defendant reserves the right to argue the correctness of the

defendant's sentence.

20. The defendant understands that by agreeing not to collaterally attack the
sentence, the defendant is waiving the right to challenge the sentence in the event that in the
future the defendant becomes aware of previously unknown facts or a change in the law which

the defendant believes would justify a decrease in the defendant’s sentence.

21. The government waives its right to appeal any component of a sentence
imposed by the Court which falls within or is greater than the sentencing range for
imprisonment, a fine and supervised release set forth in Section II], 411, above,

notwithstanding the manner in which the Court determines the sentence. However, in the
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event of an appeal from the defendant's sentence by the defendant, the government reserves

its right to argue the correctness of the defendant's sentence.

Vil. FORFEITURE PROVISION
22. Upon the defendant’s conviction under Count 1, the defendant agrees to the
forfeiture of all of his right, title, and interest in the following property pursuant to Title 18,
United States Code, Sections 1963(a)(1) and 3665 against the following property:

a. Forty (40) Remington 12 gauge shotgun shells, one (1) Winchester
12gauge shotgun shell and one (1) Federal 20 gauge shotgun shell, one
(1) Bandolier, one (1) 24" rifled barrel (from Mossberg 12 gauge), three
(3) shotgun shells and one (1) holster recovered on or about August 26,
2015 from 63 North Main Street, Delevan, NY;

b. One (1) Connecticut Valley Arms Rifle Make: Optimum Model:
Magnum Caliber: .50 SN: 61-13-02-10-22-08 with attached one (1)
Tasco 3-9 X 32 scope, Model: Silver Antler (no SN visible) recovered
from 2717 California Hill Road, Delavan, New York on August 26,
2015;

c. One (1) Rifle Make: Marlin Model: 336w Caliber: 30/30win SN:
MR97219c with attached one (1) scope x 40 magnification, (no SN
visible) recovered from 2717 California Hill Road, Delavan, New York
on August 26, 2015;

d. One (1) Rifle Make: Benjamin Model: Titan Caliber: .22 SN:
N11X03325 with attached Center Pointe 4 X 32 sight, SN: $111201
recovered from 2717 California Hill Road, Delavan, New York on
August 26, 2015;

€. One Sears Roebuck and Co. Automatic Shotgun, Model: 300 Caliber:
12 Gauge SN: Q119758 with attached one (1) Tasco Pro Point Sight
recovered from 2717 California Hill Road, Delavan, New York on
August 26, 2015;

f. One (1) Tasco Sight Scope recovered from 2717 California Hill Road,
Delavan, New York on August 26, 2015;

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g. One (1) Musket, make: Pedersoli, Caliber: .50 — (No Model or Serial
Number) recovered from 2717 California Hill Road, Delavan, New
York on August 26, 2015;

h. Six (6) knives, one (1) hatchet, three (3) boxes of .33 caliber ammunition
and four (4) rounds of 12 gauge ammunition recovered from 2717
California Hill Road, Delavan, New York on August 26, 2015;

1. One (1) 7.62 X 39 round of ammunition recovered from 2717 California
Hill Road, Delavan, New York on August 26, 2015;

j. Twenty (20) rounds of Winchester 762 X 39 ammunition recovered
from 2717 California Hill Road, Delavan, New York on August 26,
2015;

k. One pellet gun (no identifying information) recovered from 2717

California Hill Road, Delavan, New York on August 26, 2015; and
1. One (1) single shot pistol (with no identifiable make, model, serial or

caliber) recovered from a Confidential Source on or about September 8,
2015.

23. The defendant hereby waives any right to notice of a Preliminary Order of
Forfeiture and consents and agrees that it shall become final as to the defendant prior to
sentencing and agrees that the Order shall be made part of the defendant’s sentence and
included in the Judgment pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal

Procedure.

24. The defendant further agrees to the entry of orders of forfeiture for the
aforementioned property and waives the requirements of Federal Rules of Criminal
Procedure 32.2 and 43(a) regarding notice of the forfeiture in the charging instrument,
announcement of the forfeiture at sentencing, and incorporation of the forfeiture in the

judgment. Defendant acknowledges that he understands that the forfeiture of property is part

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of the sentence that may be imposed in this case and waives any failure by the court to advise

him of this, pursuant to Rule 11(b)(1)(J), at the time his guilty plea is accepted.

25. The defendant agrees that the above-described property is also subject to
forfeiture and waives any and all statutory and constitutional rights, including but not limited
to time restrictions and notice provisions with respect to the final disposition or forfeiture of
the above property. The defendant further agrees to the destruction of the firearm and

ammunition described above.

Vill. TOTAL AGREEMENT AND AFFIRMATIONS
26. This plea agreement represents the total agreement between the defendant,
JACK WOOD a/k/a Snake, and the government. There are no promises made by anyone
other than those contained in this agreement. This agreement supersedes any other prior

agreements, written or oral, entered into between the government and the defendant.

JAMES P. KENNEDY, JR.
United States Attorney
Western District of New York

BY: Qu om Za: °

(AOSEPH M. TRIPT
(AOSEPH United States Attorney

 

Dated: July A¥, 2018

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I have read this agreement, which consists of 13 pages. I have had a full opportunity
to discuss this agreement with my attorney, John J. Molloy, Esq. I agree that it represents
the total agreement reached between myself and the government. No promises or
representations have been made to me other than what is contained in this agreement. I
understand all of the consequences of my plea of guilty. I fully agree with the contents of this
ee lam signing this agreement voluntarily and of my own free will.

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JACK WOOD AOE OLL |
Defendant “Attornéy for the Defendant ‘

      

 

Dated: July >, 2018 Dated: July V3, 2018

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